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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


RUBIK’S BRAND, LTD.,
                                                     CASE NO.: 1:20-CV-05338
        PLAINTIFF,

V.
                                                     JUDGE MARVIN E. ASPEN
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                     MAGISTRATE JUDGE JEFFREY I. CUMMINGS
        DEFENDANTS.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                     NO.                           DEFENDANT
                      11                              682588*ll
                      38                           best*deal*shop
                      54                             CC-NAXX
                      66                              clever-VY
                     128                            gamemars369
                     143                              gsale1213
                     149                                 yxsly
                     190                              koga8481
                     197                            lalangjewelry
                     210                            linnflickmall
                     216                                lu9778
                     220                              yetnet519
                     248                            newstyle1500
                     258                              NIOH-MC
                     266                           parismissmoley
                     277                               qlfg7416
                     280                             queenmade
                     296                              seeyamall
                     314                            superme1874
                     350                           wandeshop999
                     366                               yeastcrab
                     431                             Mi 3C Store
                     442                         Qshun Official Store
                     460                         SMOO Makeup Store
                     490                                Binory
                     519                                 fench
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             521                           fineshelf
             550                           jolitac-us
             575                          Naisi Tech
             594                     road far supply chain
             598                             shindn
             605                            teaflour
             610                             ticasta



 Dated:   January 16, 2021         Respectfully submitted,

                                   /s/ Alison Carter
                                   Ann Marie Sullivan
                                   Alison Carter
                                   AM Sullivan Law, LLC
                                   1440 W. Taylor St., Suite 515
                                   Chicago, Illinois 60607
                                   Telephone: 224-258-9378
                                   E-mail: ams@amsullivanlaw.com
                                   ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 16, 2021 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Alison Carter
                                                     Alison Carter
